                        Case 1:18-cv-03501-JGK Document 38
                                                        22 Filed 04/25/18
                                                                 04/20/18 Page 1 of 2
28 USC 1608 Summons IH 6
4/17




                                         UNITED STATES DISTRICT COURT
                                                        for the
                                             Southern District of New York


  Democratic National Committee
                                                       )
                            P laintiff                 )
                                                       )
                   v.
                                                       )            C ivil A ction N o. 1:18-cv-03501
  The Russian Federation; General Staff of the Armed   )
  Forces of the Russian Federation ("GRU"), et al.     )
                                                       )
                            D efendant


                                          SUMMONS IN A CIVIL ACTION

  To:    WikiLeaks
         Box 4080,
         University of Melbourne,
         Victoria 3052,
         Australia

          A lawsuit has been filed against you.

         Within 60 days after service of this summons on you (not counting the day you received it) you must
 serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
 Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
 address are:

         Joseph M. Sellers
         Cohen Milstein Sellers & Toll PLLC
         1100 New York Ave., NW, Fifth Floor
         Washington, DC 20005
         (202) 408-4600

       If you fail to respond, judgment by default may be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.



                                                            CLERK OF COURT



 Date:         4/20/2018                                                  /S/ P. NEPTUNE
                                                                    Signature of C lerk or D eputy C lerk
                       Case 1:18-cv-03501-JGK Document 38
                                                       22 Filed 04/25/18
                                                                04/20/18 Page 2 of 2
28 USC 1608 Summons (12/11) (Page 2)

Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)                                        .

          ’ I personally served the summons on the individual at (place)
                                                                                on (date)                         ; or

          ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                            , a person of suitable age and discretion who resides there,
          on (date)                           , and mailed a copy to the individual’s last known address; or

          ’ I served the summons on (name of individual)                                                                   , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                         ; or

          ’ I returned the summons unexecuted because                                                                         ; or

          ’ Other (specify):
                                                                                                                                      .


          My fees are $                       for travel and $                   for services, for a total of $                       .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                      Server’s signature



                                                                                    Printed name and title




                                                                                       Server’s address

Additional information regarding attempted service, etc:
